
PER CURIAM.
The respondent, Reid F. Moore, has, pursuant to the requirements of the judgment of this Court in The Florida Bar v. Moore, 194 So.2d 264, filed in this Court his statement that he has complied with said judgment and has attached to said statement photostatic copies of receipts, the originals of which have been filed in the office of The Florida Bar, Tallahassee, Florida, establishing compliance therewith; and the *514Court being advised of its judgment in the premises, it is thereupon found and determined that the respondent, Reid F. Moore, has complied with the terms of said judgment and that his suspension from the practice of law in the State of Florida be and the same is hereby terminated and he is hereby restored to the roll of attorneys in this State.
It is so ordered.
CALDWELL, C. J., and ROBERTS, DREW, THORNAL and ERVIN, JJ., concur.
